                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 1 of 22 Page ID #:282




                                  1
                                          PETER D. LEPISCOPO, ESQ. C.S.B. #139583
                                  2       LEPISCOPO & ASSOCIATES LAW FIRM
                                          695 Town Center Drive, 7TH Floor
                                  3
                                          Costa Mesa, California 92626
                                  4       Telephone: (949) 878-9418
                                          Facsimile: (619) 330-2991
                                  5

                                  6       Attorneys for Defendant, JAWAD NESHEIWAT
                                  7

                                  8
                                                            UNITED STATES DISTRICT COURT
                                  9

                                  10      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION (SANTA ANA)

                                  11
                                          BUREAU OF CONSUMER            )        Case No. 8:20-cv-00043-JCS-ADS
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12      FINANCIAL PROTECTION,         )
                                                                        )        DEFENDANT JAWAD
                                  13
                                             Plaintiff,                 )        NESHEIWAT’S MEMORANDUM
                                  14                                    )        OF POINTS AND AUTHORITIES IN
                                             v.                         )        SUPPORT OF MOTION TO
                                  15
                                                                        )        DISMISS
                                  16      CHOU TEAM REALTY LLC, et al., )
                                                                        )        [F.R.Civ.P. Rules 12(b)(7) and 19;
                                  17
                                             Defendants.                )         L.R. 7-3]
                                  18                                    )
                                                                        )        * This motion is made following the
                                  19
                                                                        )          conference of counsel pursuant to L.R.
                                  20                                    )          7-3, which took place on 3/2/20.
                                                                        )
                                  21
                                                                        )               DATE: May 18, 2020
                                  22                                    )               TIME: 1:30 p.m.
                                                                        )        COURTROOM: 10-C
                                  23
                                                                        )        JUDGE: HON. JAMES V. SELNA
                                  24                                    )        TRIAL DATE: None Set
                                                                        )
                                  25
                                                                        )
                                  26

                                  27
                                             DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                            SUPPORT OF MOTION TO DISMISS
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 2 of 22 Page ID #:283




                                  1
                                                                      TABLE OF CONTENTS

                                  2                                                                               PAGE
                                  3

                                  4       I.       PRELIMINARY STATEMENT……….……………………………………1
                                  5

                                  6       II.      STANDARD OF REVIEW UNDER RULES 12(b)(7) AND 19(a)..………..2
                                  7

                                  8       III.     ALLEGATIONS AND CLAIMS: THE BUREAU
                                  9
                                                   HAS OMITTED MATERIAL AND NECESSARY
                                                   COMPONENTS OF THE ENTIRE ENTERPRISE
                                  10               RELATING TO MONSTER LOANS………………………………………3
                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12      IV.      THE COURT SHOULD ISSUE AN ORDER DIRECTING
                                  13               THE BUREAU TO FILE AN AMENDED COMPLAINT
                                                   JOINING DESIREE AND MONSTER TAX AS DEFENDANTS,
                                  14               AND, IF THE BUREAU FAILS TO DO SO IN THE TIME
                                  15               SPECIFIED, THEN THE COMPLAINT AGAINST
                                                   NESHEIWAT SHOULD BE DISMISSED………………………………..10
                                  16

                                  17
                                          VI.      CONCLUSION……………………………………….……………………17
                                  18

                                  19

                                  20
                                          CERTIFICATE OF SERVICE……………………………………………...…….18

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                                 DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                                SUPPORT OF MOTION TO DISMISS
                                                                                  i
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 3 of 22 Page ID #:284




                                  1
                                                                 TABLE OF AUTHORITIES
                                          CASES:                                                                 PAGE
                                  2

                                  3
                                          Biago W. Sales, Inc. v. Helena Chemical Company,
                                                160 F.Supp.2d 1136 (E.D. Cal. 2001)…………...………………………..2, 4
                                  4

                                  5
                                          McShan v. Sherill,
                                               283 F.2d 462 (9th Cir. 1960)………………………………………………3, 4
                                  6

                                  7
                                          Mekah Indian Tribe v. Verity,
                                               910 F.2d 555 (9th Cir. 1990)………………...…………………………….3, 4
                                  8

                                  9
                                          Salt River Project Agriculture Improvement & Power District v. Lee,
                                                 672 F.3d 1176 (9th Cir. 2012)…….……………………………………….3, 4
                                  10

                                  11      STATUTES, CODES, AND RULES:
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12      12 U.S.C. § 5531……….………………..………………………………………..10
                                  13
                                          12 U.S.C. § 5536………..………………………………….……………………..10
                                  14

                                  15      15 U.S.C. § 1681b(f)…………………………………………...…………………15

                                  16      15 U.S.C. § 1681s…………………………………………………………………10
                                  17
                                          15 U.S.C. § 6102(c)……………………………………………………………….11
                                  18

                                  19      15 U.S.C. § 6105(d)……………...………………………………………………..11
                                  20      16 C.F.R. Part 310………………………….……………………………………..11
                                  21
                                          16 C.F.R. § 310.2(o)……………………………………..………………………..14
                                  22

                                  23      16 C.F.R. § 310.4(a)(5)(i)(A)-(B)………………………...……………………….16
                                  24
                                          Federal Rules of Civil Procedure Rule 12(b)(6)…….……...………………………3
                                  25
                                          Federal Rules of Civil Procedure Rule 12(b)(7)……...………………………passim
                                  26

                                  27
                                             DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                            SUPPORT OF MOTION TO DISMISS
                                                                               ii
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 4 of 22 Page ID #:285




                                  1
                                          Federal Rules of Civil Procedure Rule 19.………………...…………………passim

                                  2

                                  3

                                  4

                                  5

                                  6

                                  7

                                  8

                                  9

                                  10

                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                             DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                            SUPPORT OF MOTION TO DISMISS
                                                                               iii
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 5 of 22 Page ID #:286




                                  1
                                                       MEMORANDUM OF POINTS AND AUTHORITIES
                                  2
                                                 Pursuant to Rules 12(b)(7) and 19 of the Federal Rules of Civil Procedure1,
                                  3

                                  4       defendant Jawad Nesheiwat (“Defendant” or “Nesheiwat”) moves the Court for an
                                  5
                                          order directing the Bureau of Consumer Financial Protection (“Bureau”) to join
                                  6
                                          Desiree Hoose and Tax Time Relief, Inc. dba Monster Tax Relief (“Monster Tax”)
                                  7

                                  8       as defendants in this action pursuant to Rule 19(a) or if the Bureau refuses to join
                                  9
                                          them, then the Bureau’s complaint2 (“Complaint” or “Compl.”) against Nesheiwat
                                  10
                                          should be dismissed pursuant to Rule 12(b)(7).
                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12      I.     PRELIMINARY STATEMENT:
                                  13
                                                 As a practical matter and as will be demonstrated below, in the case at Bar the
                                  14
                                          Court should conclude from the Complaint’s allegations and the evidence proffered
                                  15

                                  16      in support of the instant motion that Rules 12(b)(7) and 19(a) have been satisfied.
                                  17
                                          Accordingly, the Court will have the authority to order the Bureau to file an amended
                                  18

                                  19

                                  20

                                           1
                                  21              Hereinafter all references to “Rule” or “Rules” shall refer to the Federal
                                  22
                                                  Rules of Civil Procedure.
                                           2
                                  23              Pursuant to Section J of the Court’s 1/13/20 Initial Order Following Filing
                                  24
                                                  of Complaint Assigned to Judge Selna (ECF No. 7), Defendant has attached
                                                  a copy of the Complaint to this Memorandum as Exhibit 1, incorporated
                                  25              herein by this reference, as though fully set forth herein. (Lepiscopo Decl. ¶4.)
                                  26

                                  27
                                               DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                              SUPPORT OF MOTION TO DISMISS
                                                                                     1
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 6 of 22 Page ID #:287




                                  1
                                          complaint that joins Desiree Hoose and Monster Tax as defendants, or, if the Bureau

                                  2       fails to do so within the time ordered, then the Complaint should be dismissed.
                                  3
                                          II.     STANDARD OF REVIEW UNDER RULES 12(b)(7) AND 19(a):
                                  4

                                  5
                                                  Rule 12(b)(7) permits a party to request dismissal of a complaint for “failure

                                  6       to join a party under Rule 19.” In its relevant part, Rule 19(a) provides:
                                  7
                                                  “(a) Persons Required to Be Joined if Feasible.
                                  8

                                  9
                                                     (1) Required Party. A person who is subject to service of process
                                                  and whose joinder will not deprive the court of subject-matter
                                  10              jurisdiction must be joined as a party if:
                                  11
                                                         (A) in that person’s absence, the court cannot accord complete
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12              relief among existing parties; or
                                  13
                                                         (B) that person claims an interest relating to the subject of the
                                  14              action and is so situated that disposing of the action in the person’s
                                  15              absence may:
                                                         (i) as a practical matter impair or impede the person’s ability to
                                  16              protect the interest; or
                                  17                     (ii) leave an existing party subject to a substantial risk of
                                                  incurring double, multiple, or otherwise inconsistent obligations
                                  18              because of the interest.”
                                  19
                                                  “A motion to dismiss for failure to join an indispensable party requires the
                                  20

                                  21      moving party to bear the burden in producing evidence in support of the motion."
                                  22      Biago W. Sales, Inc. v. Helena Chemical Company, 160 F.Supp.2d 1136, 1142 (E.D.
                                  23
                                          Cal. 2001) (“Biago”). In fact, a motion to dismiss under Rule 19 demands that the
                                  24

                                  25      moving party provide facts supporting the motion, and the district court must make
                                  26

                                  27
                                                DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                               SUPPORT OF MOTION TO DISMISS
                                                                                     2
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 7 of 22 Page ID #:288




                                  1
                                          a “practical inquiry” consistent with the allegations and the evidence provided. Id.;

                                  2       see also Mekah Indian Tribe v. Verity, 910 F.2d 555, 558 (9th Cir. 1990) (“Verity”).
                                  3
                                                Further, it is well established that unlike challenges to pleadings on their face
                                  4

                                  5
                                          under Rule 12(b)(6), a motion to dismiss under Rules 12(b)(7) and 19(a) permits the

                                  6       moving party to proffer and the reviewing court to “consider evidence outside the
                                  7
                                          pleadings.” McShan v. Sherill, 283 F.2d 462, 464 (9th Cir. 1960) (emphasis added)
                                  8

                                  9
                                          (“Sherill”).

                                  10            A party may move to dismiss a case for "failure to join a party under Rule
                                  11
                                          19.” See Rule 12(b)(7). In this analysis, Rule 19 imposes a three-step inquiry for this
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13      Court to consider:

                                  14                     “(1) Is the absent party necessary (i.e., required to be joined if
                                  15
                                                feasible) under Rule 19?
                                  16

                                  17                     (2) If so, is it feasible to order that absent party to be joined?
                                  18                     (3) If joinder is not feasible, can the case proceed without the
                                  19
                                                absent party, or is the absent party indispensable such that the action
                                  20

                                  21            must be dismissed?”
                                  22      Salt River Project Agriculture Improvement & Power District v. Lee, 672 F.3d 1176,
                                  23
                                          1179 (9th Cir. 2012) (“Lee”).
                                  24

                                  25            Finally, the Court should conclude from the Complaint’s allegations and the
                                  26
                                          evidence proffered in support of the motion that Rule 19(a) and Lee have been
                                  27
                                              DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                             SUPPORT OF MOTION TO DISMISS
                                                                                       3
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 8 of 22 Page ID #:289




                                  1
                                          satisfied, and, therefore, should order the Bureau to file an amended complaint that

                                  2       joins Desiree Hoose and Monster Tax Relief as defendants, or, if the Bureau fails to
                                  3
                                          do so then the Complaint against Nesheiwat should be dismissed. See Rules 12(b)(7)
                                  4

                                  5
                                          & 19(a) and Lee, supra; see also Biago, Verity, and Sherill, supra.

                                  6       III.     ALLEGATIONS AND CLAIMS: THE BUREAU HAS OMITTED
                                  7
                                                   MATERIAL AND NECESSARY COMPONENTS OF THE ENTIRE
                                                   ENTERPRISE RELATING TO MONSTER LOANS:
                                  8

                                  9
                                                   As a way of providing the Court with a full picture, this section is designed to

                                  10      identify the Bureau’s omission of material and necessary components of the entire
                                  11
                                          enterprise alleged in the Complaint. Specifically, review of the Complaint and the
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13      exhibits submitted in support of this motion will be harmonized to demonstrate that

                                  14      the Bureau has not told the entire story regarding this matter and has not included
                                  15
                                          material and necessary parties involved, to wit: Desiree Hoose and Monster Tax.
                                  16

                                  17               Defendants Chou Team Realty, Inc. and Chou Team Realty, LLC have held
                                  18      themselves out as doing business as “Monster Loans” and “MonsterLoans”
                                  19
                                          (collectively, “Monster Loans”). (Compl. ¶12.)
                                  20

                                  21               Defendant Thomas “Tom” Chou (“Chou”) was Monster Loans’ president and
                                  22      owner between January 2015 and December 2017. Chou exercised substantial
                                  23
                                          managerial responsibility for and control over Monster Loans’ business practices,
                                  24

                                  25      including the unlawful conduct alleged in the Complaint. (Compl. ¶33.)
                                  26

                                  27
                                                 DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                                SUPPORT OF MOTION TO DISMISS
                                                                                       4
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 9 of 22 Page ID #:290




                                  1
                                                In the Complaint, the Bureau alleges that defendants Monster Loans and Lend

                                  2       Tech have purchased from Experian prescreened consumer reports (also known as
                                  3
                                          “prescreened lists”) that contained information regarding consumers with student
                                  4

                                  5
                                          loans, including consumers’ names, addresses, number of student loans, and

                                  6       aggregate student loan balances. (Compl. ¶52.) However, this is only part of the facts
                                  7
                                          in this matter. In particular, Chou created a more comprehensive enterprise and
                                  8

                                  9
                                          structure, which was omitted from the Complaint and which was comprised of four

                                  10      components gathered under the banner of “3 Whatney” (“Monster Loans
                                  11
                                          Structure”), which is shorthand for Chou and Monster Loans’ offices located at 3
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13      Whatney Road, Suite 100, Irvine, California 92618 (“3 Whatney”):

                                  14

                                  15
                                                                              3 WHATNEY
                                  16

                                  17

                                  18

                                  19
                                              Tax Debt              Mortgage                Credit Card          Student Loan
                                  20           Relief                                       Debt Relief              Debt
                                  21
                                             Monster Tax           Monster Loan            Monster Loan         Monster Loan
                                  22

                                  23
                                          (Compl. ¶¶ 10, 16, 17, 29, 30, and 52; Exhibit 2; Lepiscopo Decl. ¶5.)
                                  24

                                  25            The Bureau also failed to allege and disclose the facts that consistent with the
                                  26
                                          strategy and design of the Monster Loans Structure, on March 8, 2016 Desiree Hoose
                                  27
                                              DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                             SUPPORT OF MOTION TO DISMISS
                                                                                    5
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 10 of 22 Page ID
                                                                          #:291



                                  1
                                       formed a California corporation, Tax Time Relief, Inc., and that Desiree Hoose was

                                  2    Tax Time Relief’s chief executive officer. Further, the Bureau also failed to allege
                                  3
                                       and disclose that on in March of 2016 Desiree Hoose prepared and filed a fictitious
                                  4

                                  5
                                       business name statement with the Orange County Clerk-Recorder permitting Tax

                                  6    Time Relief to operate under the name of “Monster Tax Relief” (referred to herein
                                  7
                                       as “Monster Tax”). (Exhibits 4-6; Judicial Notice; Lepiscopo Decl. ¶¶ 7 & 8.)
                                  8

                                  9
                                             In the Complaint, the Bureau discloses that Chou and Monster Loans procured

                                  10   an Experian account for the ostensible purpose of operating its mortgage loan
                                  11
                                       business, which would be limited to mortgage products and which included credit
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   information about more than 7 million consumers (“Consumer Report

                                  14   Information”). (Compl. ¶¶ 53-58.) However, the Bureau goes on to allege that Chou
                                  15
                                       and Monster Loans would provide Consumer Report Information to other
                                  16

                                  17   companies to provide consumers with debt-relief services, although Chou and
                                  18   Monster Loans did not disclose this information to Experian. (Compl. ¶ 56.)
                                  19
                                             Although it alleged that Chou and Monster Loans provided Consumer Report
                                  20

                                  21   Information to other companies, including companies providing tax relief services,
                                  22   the Bureau did not name Desiree Hoose or Monster Tax as defendants in the
                                  23
                                       Complaint. In this context, Desiree Hoose and Monster Tax had access to and
                                  24

                                  25   utilized tax lien information contained in the Consumer Report Information,
                                  26
                                       although this information was also omitted from the Complaint. (Compl. ¶¶ 53-58.)
                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                6
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 11 of 22 Page ID
                                                                          #:292



                                  1
                                             As demonstrated above, Monster Tax was a business envisioned and

                                  2    structured by Chou to utilize Monster Loans’ logos, resources, staffing, and
                                  3
                                       Consumer Report Information for the purpose of targeting consumers through direct
                                  4

                                  5
                                       mail marketing. Chou and Monster Loans’ goal was to have a series of financial

                                  6    service companies using the Monster Loans’ name and branding. For example,
                                  7
                                       although they must have known it, the Bureau did not disclose the unity of identity
                                  8

                                  9
                                       and purpose between Monster Loan and Monster Tax, including marketing under

                                  10   the same logos and slogans (i.e., “So easy. . .It’s scary!”):
                                  11
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                  7
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 12 of 22 Page ID
                                                                          #:293



                                  1
                                       (Compl. ¶¶ 56 and 57; Exhibit 3; Lepiscopo Decl. ¶6.)

                                  2           Consistent with the Monster Loans Structure, during the schemes alleged in
                                  3
                                       the Complaint, Monster Tax’s address (i.e., 3 Whatney) was the same as other
                                  4

                                  5
                                       defendants in this action: Monster Loans; Chou Team Realty; Docu Prep Center,

                                  6    Inc.; Document Preparation Services, LP; Docs Done Right, LP;           and TKD
                                  7
                                       Enterprises, LLC. (Compl. ¶¶ 10, 16, 17, 29, and 30; Exhibit 7; Lepiscopo Decl. ¶¶
                                  8

                                  9
                                       5 & 9.)

                                  10         Another aspect of the Bureau’s enforcement action in this case relates to
                                  11
                                       advanced fees defendants charged consumers without providing the promised debt
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   relief services. (Compl. ¶¶ 103-111.) However, Monster Tax has engaged in the

                                  14   same advance fees scheme designed by Chou and Monster Loans under the Monster
                                  15
                                       Loans Structure. Just to make a point on the glaring absence of Desiree Hoose and
                                  16

                                  17   Monster Tax as defendants in this action, here are some examples from the Orange
                                  18   County Better Business Bureau’s website regarding Monster Tax’s unlawful
                                  19
                                       retention of advanced fees:
                                  20

                                  21         Complaint 1: “They were supposed to fix my taxes and took $3000
                                             from us and almost a year later, nothing. They handed the file to
                                  22         someone else and didn’t call me or anything. I have unfiled taxes from
                                  23         long ago, so it’s a difficult case or I would do my own taxes. The irs
                                             already gave me a year break and I just don’t know what’s going to
                                  24
                                             happen. This wasn’t right what they did.”
                                  25
                                             Complaint 2: “We paid these people 3 thousand dollars to help us with
                                  26
                                             a tax problem. It's been almost a two year problem. I just found that
                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                               8
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 13 of 22 Page ID
                                                                          #:294



                                  1
                                               these people went out of business with no word to us. Where is my
                                               money and has our contract been sold to someone else. If so how do we
                                  2            find out to who and where. I got a collection bill for 72,000 thousand
                                  3
                                               dollars going to collections. This company was saying they were
                                               working on this to get back taxes off so this could be affordable. I can't
                                  4            afford this. I am getting divorced and I need to know what is going to
                                  5
                                               happen. I need help please!”

                                  6            Complaint 3: “I paid Monster Tax $2490.00 to complete my taxes
                                  7
                                               for 2015-2017 and they did nothing at all. I sent them a bunch of tax
                                               information. I want to know how to get my money refunded and more
                                  8            importantly get my tax paperwork returned to me. Thank you.”
                                  9
                                               Complaint 4: “I hired Monster Tax Relief to work for me to get IRS
                                  10           issues resolved. I paid MTR $5,000 and submitted all the forms they
                                  11           requested and then they went silent. They don't return phone messages,
                                               e-mails and the main number on their website is not operational. I
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12           would like my money back and a guarantee that all of my personal
                                  13           information has been destroyed.”

                                  14   See https://www.bbb.org/us/ca/irvine/profile/tax-consultant/monster-tax-relief-lp-1126-172015410/complaints
                                  15
                                               Finally, and as discussed above, Monster Loans, Desiree Hoose, and Monster
                                  16

                                  17   Tax were part of the same overall strategy and structure regarding use of the
                                  18   Consumer Report Information for improper and unauthorized purposes including the
                                  19
                                       soliciting and retention of advance fees, as alleged in the Complaint.3 Relative to the
                                  20

                                  21   instant motion, the noteworthy part is that the Bureau omitted Desiree Hoose and
                                  22

                                  23
                                         3
                                  24
                                                 See Compl. ¶¶ 4-6, 13-16, 19-47, 49, 51-54, 56-62, 64, 65, 68, 73, 84, 85,
                                                 86, 89, 101, 103, 104, 106, 107, 108, 128, 140, 142, 143-146, 151, 152, 158,
                                  25             171, 172, and 200.
                                  26

                                  27
                                             DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                            SUPPORT OF MOTION TO DISMISS
                                                                                              9
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 14 of 22 Page ID
                                                                          #:295



                                  1
                                       Monster Tax from the allegations (or disguised their identities through oblique

                                  2    references to “other companies”). Further, the Bureau failed to join them as
                                  3
                                       defendants in this action, even though they were material and necessary parts of
                                  4

                                  5
                                       Chou and Monster Loans’ strategy and structure and were participants in the

                                  6    improper and unauthorized use of the Consumer Report Information and unlawful
                                  7
                                       solicitation and retention of advance fees. This is because the Consumer Report
                                  8

                                  9
                                       Information will reflect that Chou, Monster Loans, Desiree Hoose, and Monster Tax

                                  10   not only targeted student debt attributes but also state and federal tax lien attributes.
                                  11
                                       Thus, Desiree Hoose and Monster Tax were able to carry out the tax debt relief
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   component of Chou and Monster Loans’ strategy. (Exhibits 3-6; Judicial Notice;

                                  14   Lepiscopo Decl. ¶¶5-8.)
                                  15

                                  16   IV.     THE COURT SHOULD ISSUE AN ORDER DIRECTING THE
                                  17           BUREAU TO FILE AN AMENDED COMPLAINT JOINING DESIREE
                                               AND MONSTER TAX AS DEFENDANTS, AND, IF THE BUREAU
                                  18           FAILS TO DO SO IN THE TIME SPECIFIED, THEN THE
                                  19           COMPLAINT AGAINST NESHEIWAT SHOULD BE DISMISSED:
                                  20           The Bureau is an independent federal agency charged with enforcing Federal
                                  21
                                       consumer financial laws. The Bureau alleges that it has authority to enforce
                                  22

                                  23   prohibitions on unfair, deceptive, and abusive acts or practices in the Consumer
                                  24
                                       Financial Protection Act of 2010 (“CFPA”), 12 U.S.C. §§ 5531, 5536; the Fair Credit
                                  25
                                       Reporting Act (“FCRA”), 15 U.S.C. § 1681s; and the Telemarketing Sales Rule
                                  26

                                  27
                                             DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                            SUPPORT OF MOTION TO DISMISS
                                                                                  10
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 15 of 22 Page ID
                                                                          #:296



                                  1
                                       (“TSR”), 16 C.F.R. Part 310, as it applies to persons subject to the CFPA, 15 U.S.C.

                                  2    §§ 6102(c) and 6105(d). Hereinafter CFPA, FCRA, and TSR will be referred to
                                  3
                                       collectively as Consumer Protection Laws.
                                  4

                                  5
                                             In carrying out its duties under the Consumer Protection Laws, the Bureau

                                  6    unequivocally seeks equitable and monetary relief, as well as penalties against those
                                  7
                                       engaged in the unlawful scheme alleged in the Complaint, that is, with the exception
                                  8

                                  9
                                       of Desiree Hoose and Monster Tax, as described above.

                                  10         Monster Loans (a defendant) and Monster Tax (not joined) are one in the
                                  11
                                       same, albeit two separate legal entities, with the same goal in mind—using allegedly
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   unlawfully obtained Consumer Report Information for the alleged purpose of

                                  14   perpetrating consumer credit fraud upon 7 million individuals listed in those reports,
                                  15
                                       to wit: Monster Loans through student loan debt relief and Monster Tax through
                                  16

                                  17   state and federal tax debt relief. Essentially two bites from the same apple (i.e., the
                                  18   Consumer Report Information). It is beyond dispute that Desiree Hoose, as Monster
                                  19
                                       Tax’s chief executive officer, operated under the control of and carried out the
                                  20

                                  21   scheme for Chou, Monster Loans, and Monster Tax.
                                  22         In order to prevent future harm to the public and redress consumers, the
                                  23
                                       Bureau requests the following relief in the Complaint:
                                  24

                                  25                “a. permanently enjoin Defendants from committing future
                                             violations of the FCRA, TSR, and CFPA and enter such other injunctive
                                  26
                                             relief as appropriate;
                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                 11
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 16 of 22 Page ID
                                                                          #:297



                                  1
                                                    b. permanently enjoin Defendants from advertising, marketing,
                                  2          promoting, offering for sale, selling, or providing any form of
                                  3
                                             assistance to any debt-relief service;

                                  4                 c. grant additional injunctive relief as the Court may deem to be
                                  5
                                             just and proper;

                                  6                d. order Monster Loans, the Student Loan Debt Relief
                                  7
                                             Companies, Docs Done Right, Nesheiwat, Sklar, Hoose, Sebreros, and
                                             Martinez to pay redress to consumers harmed by their unlawful
                                  8          conduct;
                                  9
                                                   e. award damages and other monetary relief against Defendants;
                                  10

                                  11               f. impose civil money penalties against Defendants. . .”
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12   (Compl. p. 32, Demand for Relief.)
                                  13
                                             Thus, the relief sought by the Bureau cannot be complete in the absence of
                                  14

                                  15   Desiree Hoose and Monster Tax, as they are integral and necessary components of

                                  16   the unlawful enterprise the Bureau alleges in the Complaint. Further, the tax debt
                                  17
                                       relief aspect of this action involving Desiree Hoose and Monster Tax are a direct
                                  18

                                  19   result of the alleged unlawful acquisition and use of the Consumer Report
                                  20   Information, which is the central gravamen of the Bureau’s allegations.
                                  21
                                       Consequently, if the Bureau seeks prevention and redress regarding the misuse of
                                  22

                                  23   consumer information in this action and future misuse, then Desiree Hoose and
                                  24
                                       Monster Tax are necessary and indispensable parties in this action. Stated another
                                  25

                                  26

                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                               12
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 17 of 22 Page ID
                                                                          #:298



                                  1
                                       way, not joining Desiree Hoose and Monster Tax results in ratification of their

                                  2    actions and incomplete relief in this action. (Compl. ¶¶ 117 and 118.)
                                  3
                                             Monster Loans and Monster Tax utilized the allegedly unlawfully obtained
                                  4

                                  5
                                       Consumer Report Information to conduct marketing of their tax debt relief services

                                  6    to those consumers who may have needed student loan debt relief and/or state and
                                  7
                                       federal tax debt relief. Although the services Monster Loans and Monster Tax
                                  8

                                  9
                                       allegedly provided to consumers was specific but different, the source of consumer

                                  10   information upon which such services were provided was the same—the Consumer
                                  11
                                       Report Information. Moreover, the specific but different services Monster Loans and
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   Monster Tax provided were consistent with and pursuant to Chou and Monster

                                  14   Loans’ global strategy as expressed in the Monster Loans Structure. In short, the
                                  15
                                       scheme that the Bureau alleged in the Complaint is incomplete because it is an
                                  16

                                  17   inaccurate and partial statement of the facts, and the remedies sought are incomplete
                                  18   because the Bureau omitted Desiree Hoose (although her husband, Robert Hoose,
                                  19
                                       was included as a defendant) and Monster Tax. (Compl. ¶¶ 10, 16, 17, 29, 30, and
                                  20

                                  21   52; Exhibits 2-7; Lepiscopo Decl. ¶¶5-9.)
                                  22         The injunctive and monetary relief as well as the civil penalties sought by the
                                  23
                                       Bureau are not predicated upon all the facts and are not sought against all the
                                  24

                                  25   proper defendants in this action. Here, the Bureau is attempting to enforce the TSR
                                  26
                                       regarding “debt relief services” provided by Monster Loans and others that were
                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                13
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 18 of 22 Page ID
                                                                          #:299



                                  1
                                       born out of the allegedly unlawful acquisition and use of the Consumer Report

                                  2    Information. (Compl. ¶¶ 117 and 118.) The scope of the TSR’s definition of “debt
                                  3
                                       relief services” clearly comprehends the tax debt relief services conceived by Chou
                                  4

                                  5
                                       and Monster Loans and engaged in and provided by Desiree Hoose and Monster

                                  6    Tax:
                                  7
                                               “[A]ny program or service represented, directly or by implication, to
                                  8           renegotiate, settle, or in any way alter the terms of payment or other
                                  9
                                              terms of the debt between a person and one or more unsecured creditors
                                              or debt collectors, including, but not limited to, a reduction in the
                                  10          balance, interest rate, or fees owed by a person to an unsecured creditor
                                  11          or debt collector.”
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12   (Compl. ¶ 118; see also 16 C.F.R. § 310.2(o).)
                                  13
                                              Similarly, under the CFPA, the Bureau alleges that the alleged unlawful
                                  14

                                  15   acquisition and use of the Consumer Report Information constitutes unfair,

                                  16   deceptive, and abusive acts or practices designed to mislead consumers regarding
                                  17
                                       debt relief services. (Compl. ¶ 131.)
                                  18

                                  19          In paragraphs 138 and 139 of the Complaint, the Bureau alleges that Chou is
                                  20   a “related person” or “covered person” under the CFPA because he is Monster
                                  21
                                       Loans’ president and had managerial responsibility for it. Similarly, under the
                                  22

                                  23   Bureau’s assertion in paragraphs 138 and 139, Desiree Hoose is also a “related
                                  24
                                       person” or “covered person” under the CFPA because she was Monster Tax’s chief
                                  25

                                  26

                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                 14
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 19 of 22 Page ID
                                                                          #:300



                                  1
                                       executive officer and had managerial responsibility of it. (Exhibits 4-6; Judicial

                                  2    Notice; Lepiscopo Decl. ¶¶7 & 8.)
                                  3
                                             In paragraphs 133-137 of the Complaint, the Bureau alleges that Monster
                                  4

                                  5
                                       Loans and the other corporate and business entity defendants are a “related person”

                                  6    or “covered person” under the CFPA because they offered to provide debt relates
                                  7
                                       services to consumers, in particular the consumers gleamed from the Consumer
                                  8

                                  9
                                       Report Information. For the same reasons, Monster Tax is also a “related person” or

                                  10   “covered person” under the CFPA because it provided tax debt relief services.
                                  11
                                             The following examples from some of the counts alleged in the Complaint are
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13   provided in order to show how Desiree Hoose and Monster Tax were engaged in the

                                  14   same activity regarding unlawful acquisition and use of the Consumer Report
                                  15
                                       Information.
                                  16

                                  17         In Count I of the Complaint (¶¶ 148, 150, and 152), the Bureau alleges Chou
                                  18   and the other individual defendants (including Desiree Hoose’s husband, Robert)
                                  19
                                       and Monster Loans and the other corporate and business entity defendants violated
                                  20

                                  21   FCRA because they unlawfully procured the Consumer Report Information for the
                                  22   purpose of offering to provide consumers with debt relief services in violation of 15
                                  23
                                       U.S.C. § 1681b(f). Although omitted from the Complaint, Desiree Hoose and
                                  24

                                  25   Monster Tax also used the Consumer Report Information for the purpose of offering
                                  26
                                       to provide consumers with tax debt relief (i.e., “debt relief services”).
                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                                 15
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 20 of 22 Page ID
                                                                          #:301



                                  1
                                                 In Counts II and XI of the Complaint (¶¶ 154, 155, and 196), the Bureau

                                  2    alleges that certain individual and corporate defendants violated CFPA, FCRA, and
                                  3
                                       TSR because they charged advance fees in connection with offering to provide
                                  4

                                  5
                                       consumers gleamed from the Consumer Report Information with debt relief services

                                  6    in violation of 16 C.F.R. § 310.4(a)(5)(i)(A)-(B). As mentioned in section III, supra,
                                  7
                                       and as demonstrated from the consumer complaints4 filed with the Orange County
                                  8

                                  9
                                       Better Business, Desiree Hoose and Monster Tax also took and failed to return

                                  10   advance fees from consumers gleamed from the allegedly unlawfully obtained
                                  11
                                       Consumer Report Information.
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13             Finally, all the foregoing notwithstanding, the Bureau omitted Desiree Hoose

                                  14   and Monster Tax as defendants in this action, even after being given an opportunity
                                  15
                                       to cure this defect during the March 2, 2020 L.R. 7-3 meeting of counsel. The fact
                                  16

                                  17   remains that Desiree Hoose and Monster Tax were material and necessary
                                  18   components of the entire Monster Loans Structure, but the Bureau did not include
                                  19
                                       them as defendants in this action. (Compl. ¶¶ 10, 16, 17, 29, 30, and 52; Exhibit 2;
                                  20

                                  21   Lepiscopo Decl. ¶4.)
                                  22   /////
                                  23

                                  24
                                         4
                                                  See https://www.bbb.org/us/ca/irvine/profile/tax-consultant/monster-tax-
                                  25              relief-lp-1126-172015410/complaints.
                                  26

                                  27
                                               DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                              SUPPORT OF MOTION TO DISMISS
                                                                                  16
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 21 of 22 Page ID
                                                                          #:302



                                  1
                                       V.     CONCLUSION:

                                  2           Based on the foregoing, defendant Jawad Nesheiwat respectfully requests the
                                  3
                                       Court to make a finding that Desiree Hoose and Tax Time Relief, Inc. dba Monster
                                  4

                                  5
                                       Tax Relief are necessary parties to this action pursuant to Rule 19(a) and that they

                                  6    should be joined to this action, or if the Bureau refuses to join them, then the action
                                  7
                                       against defendant Jawad Nesheiwat should be dismissed pursuant to Rule 12(b)(7).
                                  8

                                  9
                                       Dated: March 10, 2020.                  LEPISCOPO & ASSOCIATES LAW FIRM
                                  10

                                  11                                           By: /s/ Peter D. Lepiscopo
                                                                                      PETER D. LEPISCOPO
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12                                                   Counsel of Record
                                  13
                                                                                      Attorneys for Defendant, JAWAD
                                  14                                                  NESHEIWAT
                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                            DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                           SUPPORT OF MOTION TO DISMISS
                                                                                 17
                                       Case 8:20-cv-00043-JVS-ADS Document 56-1 Filed 03/10/20 Page 22 of 22 Page ID
                                                                          #:303



                                  1
                                                                CERTIFICATE OF SERVICE

                                  2          I hereby certify that a true and correct copy of the foregoing document has
                                  3
                                       been served on the Court and all counsel of record via the Court’s electronic filing
                                  4

                                  5
                                       system on March 10, 2020.

                                  6    Dated: March 10, 2020.                       Respectfully submitted,
                                  7

                                  8                                                 /s/ Peter D. Lepiscopo .
                                  9
                                                                                    PETER D. LEPISCOPO
                                                                                      Counsel of Record
                                  10

                                  11                                                Attorneys for Defendant, JAWAD
                                                                                    NESHEIWAT
LEPISCOPO & ASSOCIATES LAW FIRM




                                  12

                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                           DEFENDANT JAWAD NESHEIWAT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                  28                          SUPPORT OF MOTION TO DISMISS
                                                                               18
